Case 2:04-cr-20256-.]Pl\/| Document 139 Filed 05/03/05 Page 1 of 5 PagelD 188

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WESTERN DlSTR|CT OF TENNESSEE
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UN|TED STATES OF AMER|CA

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LADAR|US TAYLOR

Wa|ter Baileyl Retained
Defense Attorney

100 North Main Street, Sulte 3002
Memphis, TN 38103

 

JUDGMENT IN A CR||'V||NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the Superseding lndictment on February 3,
2005. Accordingly, the court has adjudicated that the defendant is guilty of the following
offense(s):

Date Count
Title & section MQFIM Offense N_um.l_>ed§l
C_OQM
18 u.s.c. § 371 conspiracy to commit sank Frauci, 02/23/2003 1

Defraud the United States

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the l\/landatory
Victims Restitution Act of 1996.

Counts 2-7 of the Superseding lndictment dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney forthis district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 07/04/1968 lVlay 2, 2005
Deft’s U.S. Marshal No.: 19756-076

Defendant’s l\/lailing Address:
1768 Childers Cove
Memphis, TN 38127

scm @M

ON PH|PF’S MCCALLA
U |TED ATES DlSTR|CT JUDGE

May 2 , 2005

Thls document entered on the docket sheet in compliance

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Case 2:04-cr-20256-.]Pl\/l Document 139 Filed 05/03/05 Page 2 of 5 PagelD 189

Case No: 2:04CR20256-01-N|l Defendant Name; Ladarius TAYLOR Page 2 0f4

PROBAT|ON
The defendant is hereby placed on probation for a term of 4 Years.

While on probation, the defendant shall not commit another federal1 state, or local
crime and shall not illegally possess a firearm, ammunition, or destructive device The
defendant shall also comply with the standard conditions that have been adopted by this
court (set forth below). lf this judgment imposes a fine or a restitution obligation, it shall be
a condition of probation that the defendant pay any such file or restitution.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from placement on
probation and at least two periodic drug tests thereafter, as directed bythe probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|TIONS OF SUPERV|S|ON

1. The defendant shall not leave the judiciai district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schoolingl training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
B. The defendant shall refrain from the excessive use of alcohol and shall not purchase possess, use,

distribute or administer any narcotic or other controlled substance or any paraphernalia related to such
substances, except as prescribed by a physician. and shall submit to periodic urinalysis tests as
directed by the probation ocher to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

B. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

Case 2:04-cr-20256-.]Pl\/l Document 139 Filed 05/03/05 Page 3 of 5 PagelD 190

Case No: 2:04CR20256-01-Nll Defendant Name: Ladarius TA¥LOR Page 3 0f4

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12_ As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendants criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirement.

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal lVlonetary Penalties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF PROBAT|ON

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall submit to drug testing and drug treatment programs as directed by the
Probation Office.

2. The defendant shall seek and maintain full-time employment

3. The defendant shall make full financial disclosure

4. The defendant shall be prohibited from incurring new credit chargesl opening additional lines

of credit, or making an obligation for any major purchases Without prior approval by the
Probation Office.

5. The defendant shall cooperate With DNA collection as directed by the Probation Office.

CR|MINAL NIONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution

$100.00 $30,000.00

The Speciai Assessment shall be due immediatelyl

Case 2:04-cr-20256-.]Pl\/| Document 139 Filed 05/03/05 Page 4 of 5 PagelD 191

Case No: 2:04CR20256-01-Nll Defendant Name: Ladarius TAYLOR Page 4 of 4

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No fine imposed.

REST|TUT|ON

Restitution in the amount of $30,000.00 is hereby ordered. The defendant shall
make restitution to the following victims iri the amounts listed below.

Priority Order
Total Amount Amount of or Percentage
Name of Payee of Loss Restitution Ordered of Payr_nent
NAT|ONAL BANK OF $30,000.00 $30,000.00
CON|MERCE,
Attn: RECOVERY lVlGR.
309 lVlONROE AVE

N|EMPH|S, TN 38103

lf the defendant makes a partial payment, each payee shall receive an approximately
proportional payment unless specified otherwise in the priority order or percentage payment column
above.

The amount of loss and the amount of restitution ordered will be the same unless, pursuant
to 18 U.S.C. § 3664(f)(3)(B), the court orders nominal payments and this is reflected in the
Statement of Reasons page

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
shall be due as follows:

E. Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitution in regular monthly installments of not less than
15% of gross monthly income Additional|y, the interest requirement is waived.

Unless the court has expressly ordered othen)vise in the special instructions above ifthisjudgment
imposes a period of imprisonment payment of criminal monetary penalties shall be due during the
period of imprisonment All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ inmate Financial ResponsibilityProgram, are made to the clerk of the
court, unless otherwise directed by the court, the probation ocher, or the United States attomey.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed

         
    

 

UNITED `SATES DlSTRICT COURT - WESTERN DSRTCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 139 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

Walter L. Bailey

WALTER BAILEY & ASSOCIATES
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Ste. 3002

1\/1emphis7 TN 38103

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

